Case 2:24-mj-01055-DAO           Document 1-1        Filed 10/30/24      PageID.2      Page 1 of 39



TRINA HIGGINS, United States Attorney (#7349)
BRIAN WILLIAMS, Assistant United States Attorney (#10779)
MARK WOLFE, Assistant United States Attorney (Washington #39399)
Attorneys for the United States
111 South Main Street, Suite 1800, Salt Lake City, Utah 84111
Telephone: (801)524-5682


                           IN THE UNITED STATES DISTRICT COURT

                            DISTRICT OF UTAH, CENTRAL DIVISION

                                                     )
 IN THE MATTER OF THE SEARCH OF:                     )
 INFORMATION ASSOCIATED WITH                         )   CASE NO. 2:24mj1055-DAO
 INSTAGRAM ACCOUNT                                   )
 @KOLETURE THAT IS STORED AT                         )   AFFIDAVIT IN SUPPORT OF AN
 PREMISES CONTROLLED BY                              )   APPLICATION UNDER RULE 41 FOR A
 META PLATFORMS, INC                                 )   WARRANT TO SEARCH AND SEIZE
                                                     )
                                                     )
                                                     )
                                                     )

                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

        I, Jonathan Rich, a Special Agent with the Federal Bureau of Investigation being first

 duly sworn, hereby depose and state as follows:

                              Introduction and Agent Background

        1.      I make this affidavit in support of an application for a search warrant for

 information associated with a certain Instagram account @koleture (the “SUBJECT

 ACCOUNT”) that is stored at premises owned, maintained, controlled, or operated by Meta

 Platforms, Inc. (“META”), an electronic communications service and/or remote computing

 service provider headquartered in Menlo Park, California. The information to be searched is

 described in the following paragraphs and in Attachment A. This affidavit is made in support of

 an application for a search warrant under 18 U.S.C. §§ 2703(a), (b)(1)(A), and (c)(1)(A), to

 require META to disclose to the government records and other information in its possession,

 including the contents of communications, pertaining to the subscriber or customer associated
Case 2:24-mj-01055-DAO         Document 1-1        Filed 10/30/24     PageID.3         Page 2 of 39



with the SUBJECT ACCOUNT, further described in Section I of Attachment B. Upon receipt of

the information described in Section I of Attachment B, government-authorized persons will

review that information to locate the items described in Section II of Attachment B.

       2.      I have been a Special Agent with the Federal Bureau of Investigation since 2014.
Case 2:24-mj-01055-DAO           Document 1-1         Filed 10/30/24      PageID.4       Page 3 of 39




       3.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       4.       Based on my training and experience, and the facts as set forth in this affidavit,

there is probable cause to believe violations of 18 U.S.C. § 1343 (Wire Fraud), 18 U.S.C.

§§ 1956 and 1957 (Money Laundering), 18 U.S.C. §§ 371, 1349, and 1956(h) (Conspiracy), and

15 U.S.C §§ 78j(b), 78ff, and 17 C.F.R. § 240.10b-5 (Securities Fraud) have been committed by

the following: JERMIAH EVANS, MAKINSEE EVANS, DALLIN PILI, KOLE BRIMHALL,

and NOELLE EVANS (“TARGETS”).

       5.       There is also probable cause to search the SUBJECT ACCOUNT for information

described in Attachment A for evidence of these crimes and items to be seized listed in

Attachment B.

                                            Jurisdiction

       6.       This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711 and 18 U.S.C. §§2703(a), (b)(1)(A), &

(c)(1)(A). Specifically, the Court is a district court of the United States that has jurisdiction over

the offenses being investigated. See 18 U.S.C. § 2711(3)(A)(i).

                                          Probable Cause

   A. The TARGETS

       7.       Alpha Influence, LLC (“ALPHA”) is a Utah limited liability company that was

registered with the Utah Division of Corporations and Commercial Code on or about July 22,

2019, through its expiration and voluntary dissolution on or about July 26, 2022. JEREMIAH

EVANS was listed as a member and the registered agent for ALPHA. MAKINSEE EVANS was

                                                  2
Case 2:24-mj-01055-DAO           Document 1-1                            Filed 10/30/24                             PageID.5   Page 4 of 39




listed as a member of ALPHA from July 2019 until November 2020 under the name Makinsee
Williams. Other than JEREMIAH EVANS and MAKINSEE EVANS, there were no other

members. The certificate of organization for ALPHA identifies that it was managed by its

members. ALPHA described its purpose in its Utah business entity filing as an: “Online platform

used to help launch potential clients’ businesses. Counseling and advice for new startup business

to help ensure success.”
       8.       From on or about March 2020 through on or about March 2023, ALPHA

portrayed itself as a wealth building company and an “investment firm.” ALPHA has multiple

affiliated entities including Alpha Automation LLC, Alpha Assets LLC, Alpha Financial, and

Alpha’s Creed (hereinafter “ALPHA ENTITIES”). Neither ALPHA nor any ALPHA ENTITIES

has ever recorded a securities registration, exemption from registration, or notice of filing with
the Utah Division of Securities or the United States Securities and Exchange Commission.

       9.      JEREMIAH EVANS calls himself “The Bull” and markets his entrepreneurial

mentorship, podcast, book, health supplements, and athletic leisurewear. JEREMIAH EVANS

purports to be an “Alpha,” which he portrays as, among other things, a successful businessman.

JEREMIAH EVANS is a social media influencer who, as of March 12, 2024, has approximately
434,000 followers of his personal Instagram account @thebullevans. JEREMIAH EVANS
regularly creates and posts content to Instagram depicting a public persona of entrepreneurial

success to his social media followers and other Instagram users, including regular posts about his

success attained through investing with ALPHA. Many of JEREMIAH EVANS posts

specifically solicited engagement from his Instagram following by touting his success and
encouraged his followers to invest with ALPHA. At no time has JEREMIAH EVANS been

licensed in the securities industry.
                                       thebullevans                                 Message


                                       901 posts          434K followers             2,30S following

                                       Jeremiah Evans
                                           Christ is King
                                           S70,000,000+ in Sales I . 2CC·C Award
                                        • Amateur Boxer I ■ Jiujitsu
                                       Cl Start making S10k/ m online
                                       D Apply to here to j oin
                                       c.f> a lphascreed.com
                                       FoUowed by jacobdomrique. tmackelitetrain ing, offidalpubficsquare + 2 ITIOf"e



                                                                  3
Case 2:24-mj-01055-DAO          Document 1-1              Filed 10/30/24                     PageID.6                Page 5 of 39




       10.     MAKINSEE EVANS is a Utah licensed cosmetologist and the spouse of
JEREMIAH EVANS. MAKINSEE EVANS is an officer, director, or member of several

ALPHA ENTITIES, and she identifies herself as a business partner for ALPHA. MAKINSEE

EVANS is a social media influencer with approximately 12,300 followers of her personal

Instagram account @kinseexo as of March 12, 2024. She has regularly created and posted

content depicting herself as a “female Alpha.” MAKINSEE EVANS regularly posted to
Instagram about the success of JEREMIAH EVANS and ALPHA. She engaged with her

Instagram followers by showing a life of leisure and luxury and repeatedly encouraged her

followers to invest with ALPHA. At no time has MAKINSEE EVANS been licensed in the

securities industry.

                                         kinseexo          i@H\IQ             Message


                                         69 posts         12.3K fol lowers           1,119 following

                                         Makinsee Eva ns
                                          @; kinseexo

                                         Followed by tmackelitetraining, jacobdom rique, therealbullevans + 1 more




       11.     From on or about July 2019 through at least July 2022, JEREMIAH EVANS and

MACKINSEE EVANS engaged a team of sales agents to sell ALPHA investments in exchange

for commissions in an affinity fraud scheme, which is a common scheme where those with
affinity or connection, such as followers of social media accounts like Instagram, are targeted

and exploited in fraud schemes.

       12.     DALLIN PILI was a contracted and top sales agent for ALPHA. DALLIN PILI is

a social media influencer with approximately 224,000 people following his Instagram account

@dallinpili.official as of March 12, 2024. DALLIN PILI regularly created and posted content to
Instagram depicting himself as a successful millionaire because of his ALPHA investment, and

he used his social media influence to solicit his followers to invest in ALPHA. DALLIN PILI

was paid approximately $2.5 million in commissions by ALPHA for “investors” he brought to

ALPHA. At no time has DALLIN PILI been licensed in the securities industry.

                                                    4
Case 2:24-mj-01055-DAO         Document 1-1                      Filed 10/30/24            PageID.7         Page 6 of 39




                                        dallinpili.official          e i4ii,NQ          M essage     •?-.


                                        203 posts                224K followers   1,090 fo llowing

                                        Dallin Pili

                                         @ dallinpili.official
                                        A. ii Fait h & Fam ily
                                        - 11 Ow ner @onyx.rentals
                                        T II @duco_apparel
                                        co II Founder @thereal0mega
                                       .,.., whop.com/pilig lobal



       13.     KOLE BRIMHALL was a contracted and top sales agent for ALPHA. KOLE

BRIMHALL was a social media influencer with approximately 9,000 people following his

Instagram profile @koleture before it was shutdown. KOLE BRIMHALL regularly created and

posted content to Instagram depicting himself as a successful millionaire because of his ALPHA
investment, and he used his social media influence to solicit his followers to invest with ALPHA.

KOLE BRIMHALL was paid approximately $1.2 million in commissions by ALPHA for

“investors” he brought in. At no time has KOLE BRIMHALL been licensed in the securities

industry.




       14.     NOELLE EVANS was a contracted and top sales agent for ALPHA. NOELLE

EVANS is a social media influencer with approximately 23,800 people following her Instagram
account @noelle.evans as of March 12, 2024. NOELLE EVANS regularly created and posted

content to Instagram depicting herself living a life of leisure and luxury because of her ALPHA

investment, and she used her social media influence to solicit others to invest with ALPHA.

NOELLE EVANS was paid approximately $550,000 in commissions by ALPHA for investors

she brought in. At no time has NOELLE EVANS been licensed in the securities industry.

                                                       5
Case 2:24-mj-01055-DAO         Document 1-1                 Filed 10/30/24                   PageID.8   Page 7 of 39




                                       noelle.evans        e         Following v          Message



                                       198 posts          23.8K followe rs         1,932 following

                                       Noelle Evans

                                        @ noelle.evans
                                       Financial Freedom I Dream Lifestyle
                                       TikTok @noellelevans

                                       Followed by jacobdomrique




   B. The ALPHA Investment

       15.     Commencing on or about July 2019 and continuing through on or about July

2022, the TARGETS offered and sold investments in ALPHA to at least 530 investors, resulting

in the payment of approximately $20 million in investment funds to ALPHA.

       16.     The ALPHA investment offering was described as an Alpha Automation Store
where, in exchange for investor funds, ALPHA would exclusively manage automated,

independently owned Amazon stores for each investor. An Amazon store was commonly

understood to be an online, e-commerce storefront individually owned and operated that sells

products on the Amazon platform.

       17.     In connection with the ALPHA investment offering, ALPHA and the TARGETS
promised investors a return on their initial investment within 12-18 months and a profit-sharing

arrangement between the investor and ALPHA for profits generated thereafter.

       18.     Many ALPHA investors have been interviewed and confirmed that their

investments were solicited by the TARGETS through online public solicitations, posts and

content published to various social media platforms, including Instagram, and in-person seminars
and/or conventions.

       19.     The ALPHA investment offered and sold to investors was an investment contract,

which is defined as a security under both Utah and federal law.

       20.     Federal securities law limits how a company can connect with potential investors,

including, for example and without limitation, under Rule 506(b) of Regulation D, which
prohibits the use of general solicitation to market securities. ALPHA and the TARGETS

                                                      6
Case 2:24-mj-01055-DAO           Document 1-1         Filed 10/30/24   PageID.9      Page 8 of 39




frequently used Instagram, a publicly available social media platform, to promote the ALPHA
investment. At no time has ALPHA made any securities exemption filings or registrations to

raise capital through the use of public solicitations.

        21.      The TARGETS were not licensed to offer and/or sell securities when they

solicited investors to invest with ALPHA, and the TARGETS received compensation therewith.

        22.      The ALPHA investment offered and/or sold was an unregistered security, does
not appear to qualify for any exemption from registration, and no notice filing was made for this

security.
    C. The Solicitations

        23.       In connection with the offer and/or sale of the ALPHA investment, ALPHA, the
ALPHA ENTITIES, and the TARGETS made untrue statements of material facts.

        24.      In connection with the offer and/or sale of the ALPHA investment, ALPHA, the

ALPHA ENTITIES, and the TARGETS omitted to state material facts necessary in order to
make the statements made, in the light of the circumstances under which they were made, not

misleading to reasonable investors.

        25.      In connection with the offer and/or sale of the ALPHA investment, ALPHA, the

ALPHA ENTITIES, and the TARGETS engaged in acts, practices and/or a course of business

that operated as a fraud or deceit upon a reasonable investor.
        26.      For example, the TARGETS, whether within investment pitch decks, webinars, or

social media posts, made numerous misrepresentations to investors regarding the ALPHA

investment, including, without limitation, the following:


              a. That JEREMIAH EVANS came up with the idea to create automated turnkey
                 stores, such as was offered through the ALPHA investment, so that ALPHA can
                 have more stores and investors can benefit by earning passive income.
              b. That ALPHA had been operating successfully for years.

              c. That an initial investment of $30k, $35k or $40k with ALPHA would be used to
                 create and open an Amazon automated store for the investor that would be ran and
                 operated exclusively by ALPHA.


                                                  7
Case 2:24-mj-01055-DAO              Document 1-1         Filed 10/30/24    PageID.10       Page 9 of 39



                d. That, in addition to the initial investment funds, investors must also provide
                   additional lines of credit of $15k, $30k or $50k to be used by ALPHA for
                   working capital in its operation of the Amazon automated stores.
                e. That the return generated through the ALPHA investment would be entirely
                   passive because ALPHA would exclusively manage, operate, select products,
                   price, resell, and ensure order fulfillment.

                f. That any profits generated by the ALPHA investment, after return on the initial
                   investment principal, would be split with the investor.
                g. That screenshots published or provided to investors of Amazon store sales and
                   ALPHA testimonials showed proof other investors had millionaire success stories
                   since making their ALPHA investment.
                h. That the original investment principal would be recouped within 12-18 months.

                i. That the ALPHA investment would generate, “consistent, predictable, monthly
                   returns.”
                j. That investors could expect to earn passive income of $3k to 7k per month, or up
                   to $10k or more per month, with an average of 7-10% return on investment per
                   month in profit after expenses.

                k. That there was little to no risk with the investment because Amazon was one of
                   the largest companies in the world and no inventory would be held until an order
                   was placed.

                l. That ALPHA had connections with high level Amazon executives and/or staff.

                m. That ALPHA had a legal team that would resolve any issues that arose with
                   Amazon.
                n. That 10% of all revenue collected from the ALPHA investment by ALPHA
                   through the profit sharing agreements would be donated by ALPHA to Operation
                   Underground Railroad to fight child sex trafficking across the globe.

          27.      The investigation has revealed that the TARGETS consistently assured many

 victims by explaining that their ALPHA investment would result in life-changing passive income

 where:

                a. “Everything is done for you.”

                b. “We do all the work.”

                c. “You don’t have to do a damn thing.”

                d. “You become the funding partner.”

                e. “All you have to do is partner with us and we take care of everything.”


                                                     8
Case 2:24-mj-01055-DAO          Document 1-1         Filed 10/30/24    PageID.11      Page 10 of 39




        28.      The ALPHA investments did not result in income or return on investment as
 promised. The TARGETS knew the model was unsuccessful prior to soliciting investors based,

 in part, on their own ALPHA investments not returning principal or investment returns.

        29.      The TARGETS knew that the ALPHA investment and business model violated

 Amazon’s policies resulting in deactivation of stores and did not disclose this information to

 prospective investors.
        30.      The TARGETS misrepresented how investor funds would be used by telling

 investors their funds would be used to create an Amazon store. Instead, investor money was

 primarily diverted to fund commissions for the TARGETS as well the personal lifestyle,

 including luxury cars, luxury goods, and personal residences of JEREMIAH EVANS and

 MAKINSEE EVANS.
    D. The Investors

        31.      At least 530 investors invested approximately $20 million in the ALPHA

 investment. The majority of investors interviewed have stated that they were introduced to the

 ALPHA investment through social media online content, including on Instagram.

        32.      The majority of investors interviewed have indicated, and review of relevant
 financial accounts confirms, that they purchased the $40,000 ALPHA investment option that

 promised a full return on the initial investment within 12-18 months and a 70/30 profit split with

 ALPHA thereafter.

        33.      Once an investor determined to purchase the ALPHA investment, investor funds

 were sent directly into financial accounts held by ALPHA and controlled by JEREMIAH
 EVANS and MAKINSEE EVANS.
        34.      In exchange for their ALPHA investment, investors received the following:

              a. Wiring instructions and Service Agreements that were signed by JEREMIAH
                 EVANS on behalf of ALPHA.
              b. ALPHA Automation Service Agreements outlining that ALPHA is responsible
                 for all management and profit generating efforts.



                                                 9
Case 2:24-mj-01055-DAO          Document 1-1       Filed 10/30/24     PageID.12      Page 11 of 39



              c. Amazon onboarding instructions from ALPHA on how to create an Amazon
                 seller account with instructions to immediately provide the Amazon seller account
                 information to ALPHA and never “log in again” and never discuss nor mention
                 drop shipping should Amazon inquire.
              d. ALPHA sales agreements were provided to some, but not all, investors and
                 included commission amounts that investors could earn from referral sales and
                 terms for non-compete and non-disparagement.
    E. Untrue Statements of Material Facts and Material Misstatements and Omissions

        35.      In connection with the offer and sale of the ALPHA investment security, the

 TARGETS directly and/or indirectly made untrue statements of material fact and material
 misstatements or omissions of material facts necessary to make the statements not misleading.

 For example, and without limitation:


              a. That ALPHA had been operating successfully for years when the TARGETS
                 knew that it had not.

              b. That the ALPHA investment would generate “consistent, predictable, monthly
                 returns” when the TARGETS knew the investment generated little to no return.

              c. That the ALPHA investment principal would be recouped within 12-18 months
                 when the TARGETS knew the investment generated little to no return.
              d. That the ALPHA investment would generate an average of 7-10% monthly return
                 on investment in profits after expenses when the TARGETS knew that to be
                 untrue.
              e. That ALPHA investment funds would be used by ALPHA to open and operate an
                 Amazon store for investors when, in fact, investment funds were primarily used to
                 compensate and enrich the TARGETS.

              f. That Amazon stores would be opened and operated by ALPHA for investors with
                 their investment funds when the TARGETS knew that in many instances no such
                 store was or ever would be opened for investors.

              g. That there was reduced risk in the ALPHA investment because of the size, scope,
                 and established nature of Amazon when the TARGETS knew that the ALPHA
                 model violated Amazon’s policies.

              h. That ALPHA had connections with high-ranking Amazon executives and staff at
                 Amazon’s corporate headquarters when, in fact, ALPHA had no such
                 connections.

              i. That the initial ALPHA investment funds would be used to open an Amazon store
                 for investors when the TARGETS knew only a fraction, if any, of the initial
                 investment funds would be used for that purpose.


                                                 10
Case 2:24-mj-01055-DAO          Document 1-1       Filed 10/30/24      PageID.13      Page 12 of 39



              j. That ALPHA employed a legal team and other staff to resolve issues that may
                 arise with the ALPHA investment when the TARGETS knew that ALPHA had
                 minimal office staff and did not employ a legal team or fulfillment team.
              k. That ALPHA would not open and operate the Amazon stores, but would instead
                 outsource funds to a 3rd party service provider without disclosure to investors.
              l. That screenshots of allegedly successful Amazon stores provided to investors
                 were not Amazon stores owned, operated, established, or otherwise associated
                 with ALPHA, but were, in fact, successful stores from other unaffiliated 3rd
                 parties.

              m. That ALPHA was unable to resolve store suspensions and could not get many
                 stores operational again after Amazon had shut down or suspended them.
              n. That several of the testimonials provided in the ALPHA investment pitch were
                 made by close associates and relatives of JEREMIAH EVANS.
              o. That multiple individuals who provided testimonials did not purchase automated
                 Amazon stores through ALPHA.
              p. That multiple individuals who provided testimonials received discounts on their
                 Amazon store purchases and had their stores deactivated without ever receiving a
                 return on their investment principal.

              q. That several individuals who provided testimonials achieved financial success not
                 through Amazon stores obtained through ALPHA investments, but from sales
                 commissions received from the initial investment funds of others.
              r. That return-on-investment earnings of $10,000 or more a month was a very
                 isolated occurrence, if it occurred at all, and not the average.

              s. That the TARGETS were not licensed to sell securities.


        36.      Based upon my training and experience, the foregoing factual misstatements and

 misstatements or omissions of facts necessary not to make statements not misleading would be

 material to a reasonable investor.

    F. Fraudulent Conduct: Use of Investor Funds

        37.      As part of the investigation in this matter, several purchasers of the ALPHA
 investment have been interviewed and reported their understanding that investment funds paid to

 ALPHA for purchase of the ALPHA investment would be used by ALPHA toward creating the




                                                  11
Case 2:24-mj-01055-DAO              Document 1-1    Filed 10/30/24     PageID.14      Page 13 of 39




 individual Amazon store for the investor that would generate the return on investment and profits
 identified in the solicitations.

         38.      Generally, the most common initial ALPHA investment was $40,000, though

 initial investments could range from $30,000 to $50,000. As part of the investigation in this

 matter, ALPHA’s primary financial accounts used for the ALPHA investment have been

 analyzed for the period between August 2019 and June 2022. That analysis confirms that the
 ALPHA investment was purchased by at least 530 investor victims with approximately $20

 million in initial investor funds being deposited in ALPHA’s primary accounts. Analysis of those

 relevant accounts shows that ALPHA, JEREMIAH EVANS, and MAKINSEE EVANS

 improperly used initial investor funds in the following manner:

               a. To pay sales commissions of up to $10,000 to unlicensed securities sales agents
                  for the sale of the unregistered ALPHA investment security.
               b. To pay 3rd party automation companies that were not disclosed to investors.

               c. To pay JEREMIAH EVANS and MAKINSEE EVANS to fund their lavish
                  lifestyle.
         39.      The largest use of investment funds received by ALPHA was the payment of
 commissions to ALPHA’s unlicensed securities sales agents who were selling the ALPHA

 investment. In total, approximately $6.75 million, or about 32% of investor funds, was paid as
 commissions to unlicensed securities sales agents who were selling the ALPHA investment.

         40.      DALLIN PILI received approximately $2.5 million in commissions from initial

 investor funds for his unlicensed sale of the ALPHA investment.

         41.       KOLE BRIMHALL received approximately $1.2 million in commissions from

 initial investor funds for his unlicensed sale of the ALPHA investment.
         42.      NOELLE EVANS received approximately $555K in commissions from initial

 investor funds for her unlicensed sale of the ALPHA investment.

         43.      Approximately $6.3 million, or about 30% of initial investor funds, were paid to

 ALPHA’s 3rd party fulfillment partners BLegend Investments and Ecom Partners, who were the

 entities engaged by ALPHA that were supposed to actually manage and operate Amazon stores

                                                   12
Case 2:24-mj-01055-DAO          Document 1-1         Filed 10/30/24   PageID.15      Page 14 of 39




 for ALPHA’s investors. Neither ALPHA nor the TARGETS disclosed to investors its
 partnership with 3rd party fulfillment partners.

        44.      Approximately $5.3 million, or about 25% of initial investor funds, were used by

 JEREMIAH EVANS and MAKINSEE EVANS to fund a lavish lifestyle. For example, and

 without limitation, initial investor funds from ALPHA accounts were used by JEREMIAH

 EVANS and MAKINSEE EVANS to purchase the following:

              a. Luxury goods valued at approximately $70,000 from Gentlemen Timepieces out
                 of Dallas, Texas.
              b. Approximately $250,000 for personal investments in Axia Capital Fund.

              c. Approximately $320,000 for personal investments in One Mission Nutrition.

              d. Approximately $250,000 to the Nazarene Fund for production credit on a
                 docuseries entitled “The Hidden War.”

              e. Approximately $161,679 toward the purchase of a personal residence.

              f. Approximately $300,000 for personal investment with the Kokonut Group.

              g. Luxury vehicles valued at approximately $550,000.

              h. Approximately $50,000 for personal investments in WAGS Capital.
        45.      Apart from investor funds, no other income came into the ALPHA financial

 accounts from profits generated by the ALPHA investment.
    G. Instagram to Promote and Facilitate the ALPHA Investment Scheme

        46.      ALPHA, the ALPHA entities, and the TARGETS regularly used the social media

 platform Instagram to market, promote, and facilitate the ALPHA investment scheme. Through
 interviews with the TARGETS and investors it has been learned that each used Instagram to

 communicate with investors and others about the ALPHA investment scheme.

        47.      Several Instagram accounts were used to market, promote, and, ultimately, pitch

 investors on the ALPHA investment scheme. Those Instagram accounts include, without

 limitation, the following: @alphafinancialagency, @officialalphainfluence, @thealphascreed,
 @thebullevans, @kinseexo, @dallinpili.official, @thereal0mega, @koleture, and @noelle.evans.



                                                    13
Case 2:24-mj-01055-DAO                             Document 1-1    Filed 10/30/24   PageID.16   Page 15 of 39




         48.       The following posts were captured from the inactive Instagram account
 @alphafinancialagency, which has been deleted from public view, promoting the fraudulent

 investment scheme. These posts advertise the ALPHA investment and make the material

 misrepresentations that an Amazon store created through the ALPHA investment would generate

 $3-7k per month. The TARGETS knew that the ALPHA investment did not generate this type of

 return, if it generated any at all. The posts also indicate that the cost of the initial investment
 would be going up in March 2022, even though the TARGETS knew, and did not disclose, that

 the ALPHA investment was not sustainable, and Amazon was shutting down the Amazon stores

 for violation of its policies.


         THE AVERAGE COST OF
      STARTING A BUSINESS IN THE
           U.S. IS $300,000.

                a ,jf
               .........__..~
     ..... OR YOU CAN INVEST $4OK IN
                                            a ~
                                                      ~Q
                                                      <tt>- •
                                                           ~



          A DONE FOR YOU AMAZON
     STORE AND MAKE $3K-$7K PER
              MONTH PASSIVELY.
                       @ALPHAflNANCI Al AG[ HC't




         49.       The following deleted posts were captured from the inactive Instagram account
 @officialalphainfluence, promoting the fraudulent investment scheme. These marketing posts

 make material misrepresentations or omissions about the investment. The TARGETS knew that

 the ALPHA investment did not produce the results in all the success screenshots and

 testimonials. The TARGETS knew that ALPHA did not employ a team of experts to manage the

 Amazon store. The TARGETS knew a return on investment would not be earned in 12-18
 months.




                                                                  14
Case 2:24-mj-01055-DAO    Document 1-1                        Filed 10/30/24   PageID.17   Page 16 of 39




                          START MAKING MONEY
                         WHILE WE MANAGE YOUR
                             AMAZON STORE.

                                          a,,
                            HIRE OUR TEAM OF EXPERTS. AND WE'LL
                           WALK YOU THROUGH ALL THE DETAILS TO
                               GET YOUR AMAZON STORE SET UP.
                                      . .IOCU.Wl'IWSRllfrtf




                                                          15
Case 2:24-mj-01055-DAO                              Document 1-1            Filed 10/30/24                PageID.18        Page 17 of 39




         50.     The following deleted posts were captured from the active Instagram account
 @thealphascreed promoting the ALPHA investment scheme and making materially false

 earnings claims. These posts make additional material misrepresentations or omissions about

 the ALPHA investment including, without limitation, that there was no “Alpha Automation

 team;” that the ALPHA investment was an unregistered security; that investors were not earning

 6-7 figure returns; and that the revenue from product sales listed does not equate to retained
 profits paid to the investor.




                                          llD                                                                                                  @J

                  Oct 6, 2020
                    N•••ezz,%:re            r...•                                                                            Oct 6, 2020
                                                                                                                              Next   W[3§9be
                  U •$ t 1 Z m,;,nlhl't

                                                                                                                             Last 12 months

                                                                                                                             -- -
                                                                                                                             Pr...--penod




               ____1_.1

                                                                 We are capital' •
                                                                           gr;~you.
                                                         to generate a 6-7 fi  rz,ng on Amazon
                                                                                 passive revenue stream




         51.     The following                                                                                CJ News     @thebullevans

 posts were captured from active                                                                                        ij)miiMitU4UJ, ■

 Instagram accounts @thebullevans, @realbullevans and @therealbullevans making materially

 false and misleading claims, including, without limitation, that product sales reported for making

 $22k in one week were not returns paid to an investor; that the screenshot for $4.1 million in the

 image is a self-reported number and not actual retained profits generated from the investment;

 and that JEREMIAH EVANS has an investment firm when, in fact, he does not.




                                                                         16
Case 2:24-mj-01055-DAO                                           Document 1-1                      Filed 10/30/24                                     PageID.19           Page 18 of 39




                                                                                                                                                       Why Jeremiah Evans
                                                                                                                                                       Empowers Young
         = -                  amazon seller                                                                                                            Entrepreneurs Through His
              9203 uso                      33           0 .04                                                                                         Investment Firm
         Proctuc:1 .....                  l.Ml 30d.-ys

         22.83K ~              'f' 1011




  My lw•,I cl,1y ',o far      "Br~I investment
  I,.,    ' " 1(1,"




   I love getting these texts
   from my clients!! "' .t, ,t,,
                                                                    Liked by t healphascreed
                                                                    realbullevans It's been a k>nQ journey!




                      52.                 The following posts captured from active Instagram accounts, @thebullevans,

 @realbullevans and @therealbullevans, reposting the same or similar marketing content, contain

 material misrepresentations or omissions about JEREMIAH EVANS success derived from

 ALPHA including, without limitation, that JEREMIAH EVANS paid to be featured in Forbes;

 that the $120,000 watch worn in the video was purchased using misappropriated ALPHA

 investor funds; that JEREMIAH EVANS used ALPHA business accounts for his personal

 expenses; and that his “millionaire” status was derived from the unlicensed sale of the

 unregistered ALPHA investment security and not profits derived from the ALPHA investment.



    .... .......,.....,..~-
         - .
  ........                       . ...
                  ......... .... _                                                                                                                                        .....
                                                                                                                                                                    ~IIIIAllUl.lfY.t.NS


  ..__
  _.,.,_                   ............
                                 .,.;,


  _..,._,........,...._.,,... ____
  ~-             ..........-...,..
  .........._,....... ...... ....
  ........
  --'-l•--.CIO•"'--....._· ..._.._
  ... M. . . .,M-........_....,,..., _ _
                           ,_,_......,                                                       ct =--~~"':,=..:.:.~~--=-
  .............              ....
                                                                                                       ~-
                                                                                                                                                  0
                            ,,_
  .......,... ......................                                                             --....~-
                                                                                                 . . . . . - ~ ~ - - - - .. · • - - . . C - , ,
                      ~
                  ,......-'""-

   So grateful and
   blessed to have                                                                                                                                0



   been featured in
     @forbes A
   0 FEATURED IN FORBES
  "',_,.              ..    ~ • t i • ~ .......

  .........................,._..,....,_,_
                      .. ...w,       ..


  - --
  ~!!'9_ _ _ _ _ ,_,,...,..




                                                                                               17
Case 2:24-mj-01055-DAO        Document 1-1       Filed 10/30/24       PageID.20                             Page 19 of 39




        53.    The following posts captured from active Instagram account @kinseexo, the
 SUBJCT ACCOUNT, contain materially false misrepresentations or omissions including,

 without limitation, that people who have invested in ALPHA found financial freedom, and that

 ALPHA was donating a portion of its revenue to OUR Rescue monthly.
                                                                      lcinsee-xo • Follow
                                                                      °""'""   Rondo


                                                                      l u ~xo W• just wupp,ed up •n .imaz,ng ""HI: W'I flor1d.i
                                                                      attending C<ldfurinels hve & lsstened to speakers we ha.e
                                                                      lrste.,ed to for yHrs! 1iut •n oY~Mtm,ng ~~ of gratitude
                                                                      for my ffl.l~~ ()l,jr b1JS1~ss, OUf ll"IMr orde & •or who we are
                                                                      becoming

                                                                      Jt-r's hunger & d ~rs unm•1thecl. tote ~t .i 90.,l less th.an a year
                                                                      ago to recewe the two comma dub award for d0tng S 1M 11"1 sales
                                                                      through cbck fuM~ T ~ s so much tune and money and
                                                                      spec!'~ str.itegies .nd sooo much tr~ .i,nd Hrcr when rt comH
                                                                      to bl.uldmg a m1llon dolar company. He invested heavtfy 11"110 his
                                                                      lcnowledge, u.tiMd Ol..t teams & worlc.ed hrs ass off to make sure
                                                                      we Y.,fie on u.clc. Within 12 months he no-t only ruct-oed his goal
                                                                      of receMng hrs first two c o ~ ch;b aw.ird bl.rt -iilSO received his
                                                                      fd'St 2CCX 'or cSotng S10M arid v---e·reJust shy of S20'A as a
                                                                      ~sin.n going into quarter -4. Hoty sa,,c ~ of comp.arues t".iil
                                                                      wittun the tint ye.ir S9!> of busmes~ CrE'-ilte StM reve-nue m the
                                                                      WORLD. What??l Tony Robbins sprt out tttos. st.11,st,cs and we
                                                                      jun sured at Heh ether!

                                                                      Over the past 12 months ...,-e<ve "A-atched people dose-st to us
                                                                      transform. We"W crHted opportuncties t°' people to brealc
                                                                      9e~r.t,on.il cydfi to t-ilh ure- of the-ir f,ifflJbes, to c:rHte
                                                                      finanoal freedom & soon rt grew from our inner cm:le to
                                                                      twrdreds of pe-opl@ l'l>-ho have :rusted us & our bul#'less &
                                                                      tru~~ themiffies to ffl.ikt dectSJOC'ls th.it v-dl bless the,r
                                                                      posterity.

                                                                      ou, goal as a couple has ,~ys bHn to somehow put ou,set.-es
                                                                      1n a posrtfOn te> not only ble-ss OUt" lirve-s & cu, famil,es bl...t to
                                                                      bless so many of those who are .n ne@d & 1f tMr• s sorn.eone vr. e
                                                                      un twlp oo.ach or s.el'\'e in any wkf. tNn w. must In ~ t w e re
                                                                      buiftfor.



                                                                oav
                                                                • Lt«d by noeti..~ns 1nd 4SO others
                                                                ~ t ~ z t i. 2021




                                               18
Case 2:24-mj-01055-DAO                                                  Document 1-1    Filed 10/30/24                PageID.21                           Page 20 of 39



                                                                                                  kinseexo • Folk>w


                                                                                                   kinseexo We are beyond grateful for the overwhelming support
                                                                                                   we' ve gotten w ith every single seminar we've done & just with
                                                                                                   our company in general. It's been our number one priority to
                                                                                                   make sure this company reflects the things we value most in our
                                                                                                   life which is building our b est selves in orde r to h elp o th ers do
                                                                                                   the same & tha t' s ex actly what Alpha Influence is.




                                                                                                   Im so fucking proud of j er · I wish there w as some way to show
                                                                                                   the non st op grind h e puts into th is & into his circle on top of
                                                                                                   b e ing the dreamie st husband ever. H e' s h elped so many figure
                                                                                                   out their · why"" and continues to change people's lives daily,
                                                                                                   literally. It never gets old hearing him mentor others & w atching
                                                                                                   people flock tow ards him because of who h e is a nd w hat he
                                                                                                   stands for. I love him more than ever and l feel so blessed to be
                                                                                                   his wife.




                                                                                                   Our motto for Alpha Influ ence is Be Great or Be Nothing. Jer & I
                                                                                                   are ext remely pass ionate about building our w ealth not only to
                                                                                                   bless our lives & familie s lives but also those who cannot help
                                                                                                   themselv es. We are honored to be p artnered with @ourre scue.
                                                                                                   Every month we donate a p ercentage o f our r evenue to help
                                                                                                   fund these operations to save t hese sw eet angels from the
                                                                                                   darke st hell th ere is. We'll continue t o spread awareness of their
                                                                                                   purpose & forever stand with OUR to fight child sex trafficking.




                                                                                                   Thank you so much for all the love and support w e get on t he
                                                                                                   daily. We're so gratefu l for t he family w e 've built through Alpha-
                                                                                                   It's true that it absolutely takes a village 0, and w e wouldn' t be
                                                                                                   where w e are without them. w e·re so e xcited for what' s in store




                    54.                The following deleted stories and posts were captured from active Instagram

 accounts @dallinpili.official and @thereal0mega. These posts make materially false earnings

 claims about the ALPHA investment and material misrepresentations or omissions including,

 without limitation: that ALPHA would get everyone verified and approved to sell on Amazon,

 that the ALPHA investment would create passive income, that the ALPHA investment would

 generate a return on the initial investment in 12-18 months, and that ALPHA investors would see
 4k-7k in passive monthly income. The following posts also expressly invite potential investors to

 send a direct message to the account holder to “set up a call” regarding the ALPHA investment.

       1 ;>',;>                                    •• 9        •
                                                                            -                  . ...

   ..-.....
   ~
                  ,........
                  88
                              ,.I .
                                          132                      "I
                                                                   C

                                       Last30d~
    3 19 .7K ....,            .. . 6        ... ,2229




          §

         a::na-,a-mc& iii                               - •'
       e &&ilil:l-14 CJ ~t-A-l■W- l uf.A GD


    ~     COmmuncetlons
                      ~
                      ~~~
                        -              ~CIP
                                                - -"'-~ •




                                                                                       19
Case 2:24-mj-01055-DAO         Document 1-1                    Filed 10/30/24          PageID.22          Page 21 of 39




        55.     The following are deleted screenshots of a tagged Instagram reel and deleted
 video posts captured from an inactive Instagram account @koleture, the SUBJECT ACCOUNT,

 making earnings claims about the ALPHA investment. TARGET KOLE BRIMHALL is

 featured in the testimonial video posted to his Instagram page stating:

        “…I am now making more money now than I ever thought possible. That year that
        I was working full time construction I made 25 grand. In this month alone, I made
        way more than that. That should put in perspective how much money you can make,
        how much there is available for you to be able to live the life of your dreams, not
        have to be held back by society’s plan. Come join us, come be a part of this Alpha
        influence movement.”

 These posts make material misrepresentations or omissions about the ALPHA

 investment. For example, and without limitation, the money KOLE BRIMHALL made

 was from the commissions he was paid by ALPHA for the unlicensed sale of the

 unregistered ALPHA investment to others, not from his own ALPHA investment. The

 investigation has revealed that KOLE BRIMHALL never earned a return on his own

 ALPHA investment.




                                                                       Product sales       Last 30 days

                                                                       28.13K usn
                                                                       l8'1 )O~e,~




                                         No comments yet.
                                           St1t11ht.-ul>On.




                                                                       '8> Add a Product

                                  oo v                                    @koleture Month 5
                                                                          store is killing it! i

        56.     The following deleted posts were captured from active Instagram account

 @noelle.evans making earnings claims about the ALPHA investment. These posts make material



                                                              20
Case 2:24-mj-01055-DAO                   Document 1-1     Filed 10/30/24    PageID.23            Page 22 of 39




 misrepresentations or omissions. The money NOELLE EVANS made was from commissions
 received for the unlicensed sale of the unregistered ALPHA investment and came directly from

 investor funds, not profits generated from her investment. Thus far, the investigation has not

 shown a single investor who generated $40,000 or an average monthly return of $4,000 in

 passive income from the ALPHA investment.




         S40,000/month of extra
                income?
                                                                                  •   -
                                                                                      •
                                                                                      1220
                                                                                             amua~
                                                                                                               15.IE




          GIMME!           I WANT IN!

           98.!!,. .....     101




                                                                                  ·-·-               I 111.111< ,.,1 I r< t'dom
                                                                                                     in .It t1on 1     -~8
                                                                                  a _,-



                                                                                 S4000 month

         •-                        D
                                                                                  •.+ passively-.+


        As part of this extensive and pervasive investment fraud scheme, the TARGETS

 regularly attempted to exploit their Instagram followers by soliciting them to invest with

 ALPHA. The TARGETS regularly used the Instagram direct messaging feature (DM) as a forum

 of communication with potential investors. DM communication occurs when an Instagram user
 clicks, swipes or otherwise responds to a marketing post and engages in communication. The

 posts soliciting DM responses and the content of these subsequent communications includes

 additional representations directly from the individual TARGETS about investing. Prospective

 investors who communicated with the individual TARGETS on the Instagram platform would

 exchange contact information for a sales discussion.
        57.                The following are deleted screenshots seeking DM communication captured from

 the Instagram account @thealphascreed. The posts request that Instagram users DM to engage in

 further communication about the investment opportunity.

                                                         21
Case 2:24-mj-01055-DAO                    Document 1-1                     Filed 10/30/24         PageID.24   Page 23 of 39




                ..
                "
                "
                      Aug 31   5ep &   Sep 10   Sfll 15   seo zo
                                                 lil)dated 12 16 PM MOT         Amazon Automation:
               ~ Add a Product
                                                                                passive income made
                                                                                possible by our automation
                   100% passive income.
                                                                                team. Dll.1 for inquiries.
                   Our automation team
                  run these stores for our                                     P Manage Caselog

                    clients. DM for info.


        58.    The following is a screenshot seeking DM communication captured from the

 Instagram account @thebullevans. Also depicted is a screenshot provided by a victim of DM

 communication.




        59.    The following are screenshots of DM communications made through Instagram
 captured by a victim investor communicating with the account @kinseexo about the ALPHA

 investment offer. The message contains additional guidance and direction about how the ALPHA



                                                                          22
Case 2:24-mj-01055-DAO         Document 1-1       Filed 10/30/24     PageID.25       Page 24 of 39




 investment is to work, including material misrepresentations or omissions that the investment
 would generate a return in 12 to 18 months.




        60.    The following are screenshots of DM communications captured by investors
 made through Instagram to the account @noelle.evans. The messages contain

 misrepresentations or omissions about the ALPHA investment, including but not limited to, that



                                                23
Case 2:24-mj-01055-DAO                                 Document 1-1                      Filed 10/30/24   PageID.26   Page 25 of 39




 ALPHA has a team (it does not), that ALPHA splits profits every month with the investor, and
 that it was normal for the first year to be slow in generating returns.
                 7:25

               < A Noelle Evans
                  1~         noelle.eyans




                                       Noelle Evans
                               noelle.evans lnstagram
                               24K followers • 198 posts
                You 1 ve followed this lnstagram account since 2021
                     You both follow realbullevans and 9 others

                                            View profile




                                                                        -
                                              NOVIII. 2021

                                                             You replied 10 the story




               - - - - - - - - Ne .... MHUQH                 --------


                                              NOl/5. 2021


                       Hello! Little bit about our stores: one of
                       our financial products is our automated
                       Amazon stores. Our clients can invest and
                       purchase a store, then our team does
                       100% of the work to run it, and we split
                       the profits every month.
                       T11)1r.d    1or•1CI



              e    Message ...




        61.      Since the collapse of the scheme in or around July 2022, Instagram accounts

 @officialalphainfluence and @alphafinancialagency have been deleted from public view. So
 too, Instagram account @thealphascreed removed all ALPHA investment related posts from its

 account. KOLE BRIMHALL’S Instagram account @koleture has been deleted. Since being

 informed they were under investigation by the Utah Division of Securities in November 2023,

 JEREMIAH EVANS, DALLIN PILI, and NOELLE EVANS have deleted several ALPHA

 related stories, reels and posts form their accounts. They have also removed themselves from
 keyword tagged posts relating to marketing of the ALPHA investment scheme.
                                                             Background Concerning Instagram1



 1
  The information in this section is based on information published by META on its Instagram website,
 including, but not limited to, the following webpages: “Privacy Policy,”

                                                                                        24
Case 2:24-mj-01055-DAO            Document 1-1      Filed 10/30/24      PageID.27       Page 26 of 39




        62.     Instagram is a service owned by META, a United States company and a provider
 of an electronic communications service as defined by 18 U.S.C. §§ 3127(1) and 2510.

 Specifically, Instagram is a free-access social networking service, accessible through its website

 and its mobile application, that allows subscribers to acquire and use Instagram accounts, like the

 SUBJECT ACCOUNT listed in Attachment A, through which users can share messages,

 multimedia, and other information with other Instagram users and the general public.
        63.     META collects basic contact and personal identifying information from users

 during the Instagram registration process. This information, which can later be changed by the

 user, may include the user’s full name, birth date, gender, contact e-mail addresses, physical

 address (including city, state, and zip code), telephone numbers, credit card or bank account

 number, and other personal identifiers. META keeps records of changes made to this
 information.

        64.     META also collects and retains information about how each user accesses and

 uses Instagram. This includes information about the Internet Protocol (“IP”) addresses used to

 create and use an account, unique identifiers and other information about devices and web

 browsers used to access an account, and session times and durations.
        65.     Each Instagram account is identified by a unique username chosen by the user.
 Users can change their usernames whenever they choose but no two users can have the same

 usernames at the same time. Instagram users can create multiple accounts and, if “added” to the

 primary account, can switch between the associated accounts on a device without having to

 repeatedly log-in and log-out.
        66.     Instagram users can also connect their Instagram and Facebook accounts to utilize

 certain cross-platform features, and multiple Instagram accounts can be connected to a single

 Facebook account. Instagram accounts can also be connected to certain third-party websites and


 https://privacycenter.instagram.com/policy/; “Information for Law Enforcement,”
 https://help.instagram.com/494561080557017; and “Help Center,” https://help.instagram.com.


                                                  25
Case 2:24-mj-01055-DAO          Document 1-1         Filed 10/30/24      PageID.28       Page 27 of 39




 mobile apps for similar functionality. For example, an Instagram user can “tweet” an image
 uploaded to Instagram to a connected Twitter account or post it to a connected Facebook

 account, or transfer an image from Instagram to a connected image printing service. META

 maintains records of changed Instagram usernames, associated Instagram accounts, and previous

 and current connections with accounts on META and third-party websites and mobile apps.

        67.     Instagram users can “follow” other users to receive updates about their posts and
 to gain access that might otherwise be restricted by privacy settings (for example, users can

 choose whether their posts are visible to anyone or only to their followers). Users can also

 “block” other users from viewing their posts and searching for their account, “mute” users to

 avoid seeing their posts, and “restrict” users to hide certain activity and prescreen their

 comments. Instagram also allows users to create a “close friends list” for targeting certain
 communications and activities to a subset of followers.

        68.     Users have several ways to search for friends and associates to follow on

 Instagram, such as by allowing META to access the contact lists on their devices to identify

 which contacts are Instagram users. META retains this contact data unless deleted by the user

 and periodically syncs with the user’s devices to capture changes and additions. Users can
 similarly allow META to search an associated Facebook account for friends who are also
 Instagram users. Users can also manually search for friends or associates.

        69.     Each Instagram user has a profile page where certain content they create and

 share (“posts”) can be viewed either by the general public or only the user’s followers,

 depending on privacy settings. Users can customize their profile by adding their name, a photo,
 a short biography (“Bio”), and a website address.

        70.     One of Instagram’s primary features is the ability to create, edit, share, and

 interact with photos and short videos. Users can upload photos or videos taken with or stored on

 their devices, to which they can apply filters and other visual effects, add a caption, enter the

 usernames of other users (“tag”), or add a location. These appear as posts on the user’s profile.



                                                  26
Case 2:24-mj-01055-DAO          Document 1-1         Filed 10/30/24      PageID.29    Page 28 of 39




 Users can remove posts from their profiles by deleting or archiving them. Archived posts can be
 reposted because, unlike deleted posts, they remain on META’s servers.

        71.      Users can interact with posts by liking them, adding or replying to comments, or

 sharing them within or outside of Instagram. Users receive notification when they are tagged in

 a post by its creator or mentioned in a comment (users can “mention” others by adding their

 username to a comment followed by “@”). An Instagram post created by one user may appear
 on the profiles or feeds of other users depending on a number of factors, including privacy

 settings and which users were tagged or mentioned.

        72.     An Instagram “story” is similar to a post but can be viewed by other users for only

 24 hours. Stories are automatically saved to the creator’s “Stories Archive” and remain on

 META’s servers unless manually deleted. The usernames of those who viewed a story are
 visible to the story’s creator until 48 hours after the story was posted.

        73.     Instagram allows users to broadcast live video from their profiles. Viewers can

 like and add comments to the video while it is live, but the video and any user interactions are

 removed from Instagram upon completion unless the creator chooses to send the video to IGTV,

 Instagram’s long-form video app.
        74.     Instagram Direct, Instagram’s messaging service, allows users to send private
 messages to select individuals or groups. These messages may include text, photos, videos,

 posts, videos, profiles, and other information. Participants to a group conversation can name the

 group and send invitations to others to join. Instagram users can send individual or group

 messages with “disappearing” photos or videos that can only be viewed by recipients once or
 twice, depending on settings. Senders can’t view their disappearing messages after they are sent

 but do have access to each message’s status, which indicates whether it was delivered, opened, or

 replayed, and if the recipient took a screenshot. Instagram Direct also enables users to video chat

 with each other directly or in groups.

        75.     Instagram offers services such as Instagram Checkout and Facebook Pay for users
 to make purchases, donate money, and conduct other financial transactions within the Instagram

                                                   27
Case 2:24-mj-01055-DAO           Document 1-1        Filed 10/30/24      PageID.30       Page 29 of 39




 platform as well as on Facebook and other associated websites and apps. Instagram collects and
 retains payment information, billing records, and transactional and other information when these

 services are utilized.

          76.    Instagram has a search function which allows users to search for accounts by

 username, user activity by location, and user activity by hashtag. Hashtags, which are topical

 words or phrases preceded by a hash sign (#), can be added to posts to make them more easily
 searchable and can be “followed” to generate related updates from Instagram. META retains

 records of a user’s search history and followed hashtags.

          77.    META collects and retains location information relating to the use of an

 Instagram account, including user-entered location tags and location information used by META

 to personalize and target advertisements.
          78.    META uses information it gathers from its platforms and other sources about the

 demographics, interests, actions, and connections of its users to select and personalize ads,

 offers, and other sponsored content. META maintains related records for Instagram users,

 including information about their perceived ad topic preferences, interactions with ads, and

 advertising identifiers. This data can provide insights into a user’s identity and activities, and it
 can also reveal potential sources of additional evidence.
          79.    In some cases, Instagram users may communicate directly with META about

 issues relating to their accounts, such as technical problems, billing inquiries, or complaints from

 other users. Social networking providers like META typically retain records about such

 communications, including records of contacts between the user and the provider’s support
 services, as well as records of any actions taken by the provider or user as a result of the

 communications.

          80.    For each Instagram user, META collects and retains the content and other records

 described above, sometimes even after it is changed by the user (including usernames, phone

 numbers, email addresses, full names, privacy settings, email addresses, and profile bios and
 links)

                                                   28
Case 2:24-mj-01055-DAO           Document 1-1      Filed 10/30/24      PageID.31      Page 30 of 39




        81.     In my training and experience, evidence of who was using Instagram and from
 where, and evidence related to criminal activity of the kind described herein, may be found in the

 files and records described above. This evidence may establish the “who, what, why, when,

 where, and how” of the criminal conduct under investigation, thus enabling the United States to

 establish and prove each element or, alternatively, to exclude the innocent from further

 suspicion.
        82.     For example, the stored communications and files connected to an Instagram

 account may provide direct evidence of the offenses under investigation. Based on my training

 and experience instant messages, voice messages, photos, videos, and documents are often

 created and used in furtherance of criminal activity, including to communicate and facilitate the

 offenses under investigation.
        83.     In addition, the user’s account activity, logs, stored electronic communications,

 and other data retained by META can indicate who has used or controlled the account. This

 “user attribution” evidence is analogous to the search for “indicia of occupancy” while executing

 a search warrant at a residence. For example, subscriber information, such as messaging logs,

 photos, and videos (and the data associated with the foregoing, such as date and time) may be
 evidence of who used or controlled the account at a relevant time. As an example, because every
 device has unique hardware and software identifiers, and because every device that connects to

 the Internet must use an IP address, IP address and device identifier information can help to

 identify which computers or other devices were used to access the account. Such information

 also allows investigators to understand the geographic and chronological context of access, use,
 and events relating to the crime under investigation.

        84.     Account activity may also provide relevant insight into the account owner’s state

 of mind as it relates to the offenses under investigation. For example, information on the account

 may indicate the owner’s motive and intent to commit a crime (e.g., information indicating a

 plan to commit a crime), or consciousness of guilt (e.g., deleting account information in an effort
 to conceal evidence from law enforcement).

                                                 29
Case 2:24-mj-01055-DAO           Document 1-1        Filed 10/30/24      PageID.32      Page 31 of 39




        85.       Other information connected to the use of Instagram may lead to the discovery of
 additional evidence. For example, associated and linked accounts, stored communications,

 photos, and videos may reveal services used in furtherance of the crimes under investigation or

 services used to communicate with other TARGETS and/or co-conspirators. In addition, stored

 communications, contact lists, photos, and videos can lead to the identification of co-conspirators

 and instrumentalities of the crimes under investigation.
        86.       Therefore, META’s servers are likely to contain stored electronic

 communications and information concerning subscribers and their use of Instagram. In my

 training and experience, such information may constitute evidence of the crimes under

 investigation.

        87.       On January 25, 2024, a preservation request was served to Instagram pursuant to
 18 U.S.C. § 2703(f), requiring Instagram to preserve all information associated with the

 SUBJECT ACCOUNT.

        88.       Based on the information above, META is likely to contain all the material

 described above with respect to the SUBJECT ACCOUNT, including stored electronic

 communications and information concerning subscribers and their use of Instagram, such as
 account access information, which would include information such as the IP addresses and
 devices used to access the account, as well as other account information that might be used to

 identify the actual user or users of the account at particular times.
                                              Conclusion

        89.       Based on the aforementioned factual information, I respectfully submit that there

 is probable cause to believe that evidence, fruits, and instrumentalities of violations, or attempted

 violations, of 18 U.S.C. § 1343 (Wire Fraud), 18 U.S.C. §§ 1956 and 1957 (Money Laundering),
 18 U.S.C. §§ 371, 1349, and 1956(h) (Conspiracy), and/or 15 U.S.C §§ 78j(b), 78ff, and 17

 C.F.R. § 240.10b-5 (Securities Fraud) may be located in the SUBJECT ACCOUNT identified in

 Attachment A.



                                                   30
Case 2:24-mj-01055-DAO          Document 1-1       Filed 10/30/24        PageID.33     Page 32 of 39




        90.     Accordingly, I respectfully request that the Court issue the proposed search
 warrant.

        91.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

 required for the service or execution of this warrant. The government will execute this warrant

 by serving the warrant on META. Because the warrant will be served on META, who will then

 complete the requested records at a time convenient to it, there exists reasonable cause to permit
 the execution of the requested warrant at any time in the day or night.

                                               Respectfully submitted,




                                               Jonathan Rich
                                               Special Agent
                                               Federal Bureau of Investigation


 SUBSCRIBED and SWORN to before me on October 30, 2024




 DAPHNE OBERG
 United States Magistrate Judge




                                                 31
Case 2:24-mj-01055-DAO          Document 1-1        Filed 10/30/24     PageID.34       Page 33 of 39




                                        ATTACHMENT A

                                     Property to Be Searched

        This warrant applies to information associated with the Instagram account @koleture

 (active on, but not limited to July 2019), that is stored at premises owned, maintained, controlled,

 or operated by Meta Platforms, Inc., a company headquartered in Menlo Park, California.
Case 2:24-mj-01055-DAO         Document 1-1        Filed 10/30/24      PageID.35      Page 34 of 39




                                        ATTACHMENT B

                                  Particular Things to be Seized

 I.     Information to be disclosed by Meta Platforms, Inc. (“META”)

        To the extent that the information described in Attachment A is within the possession,

 custody, or control of META, regardless of whether such information is located within or outside

 of the United States, and including any messages, records, files, logs, or information that have

 been deleted but are still available to META, or have been preserved pursuant to a request made

 under 18 U.S.C. § 2703(f) on January 25, 2024, META is required to disclose the following

 information to the government for each account listed in Attachment A:

        A.      All business records and subscriber information, in any form kept, pertaining to
                the account, including:
                1.     Identity and contact information (past and current), including full name, e-
                       mail addresses, physical address, date of birth, phone numbers, gender,
                       hometown, occupation, websites, and other personal identifiers;
                2.     All Instagram usernames (past and current) and the date and time each
                       username was active, all associated Instagram and Facebook accounts
                       (including those linked by machine cookie), and all records or other
                       information about connections with Facebook, third-party websites, and
                       mobile apps (whether active, expired, or removed);
                3.     Length of service (including start date), types of services utilized,
                       purchases, and means and sources of payment (including any credit card
                       or bank account number) and billing records;
                4.     Devices used to login to or access the account, including all device
                       identifiers, attributes, user agent strings, and information about networks
                       and connections, cookies, operating systems, and apps and web browsers;
                5.     All advertising information, including advertising IDs, ad activity, and ad
                       topic preferences;
                6.     Internet Protocol (“IP”) addresses used to create, login, and use the
                       account, including associated dates, times, and port numbers from July
                       2019 through July 2022;
                7.     Privacy and account settings, including change history; and
Case 2:24-mj-01055-DAO     Document 1-1          Filed 10/30/24     PageID.36     Page 35 of 39




            8.     Communications between META and any person regarding the account,
                   including contacts with support services and records of actions taken.
       B.   All content (whether created, uploaded, or shared by or with the account), records,
            and other information relating to videos (including live videos and videos on
            IGTV), images, stories and archived stories, past and current bios and profiles,
            posts and archived posts, captions, tags, nametags, comments, mentions, likes,
            follows, followed hashtags, shares, invitations, and all associated logs and
            metadata, from July 2019 through July 2022;
       C.   All content, records, and other information relating to communications sent from
            or received by the account from July 2019 through July 2022, including but not
            limited to:
            1.     The content of all communications sent from or received by the account,
                   including direct and group messages, and all associated multimedia and
                   metadata, including deleted and draft content if available;
            2.     All records and other information about direct, group, and disappearing
                   messages sent from or received by the account, including dates and times,
                   methods, sources and destinations (including usernames and account
                   numbers), and status (such as delivered, opened, replayed, screenshot);
            3.     All records and other information about group conversations and video
                   chats, including dates and times, durations, invitations, and participants
                   (including usernames, account numbers, and date and time of entry and
                   exit); and
            4.     All associated logs and metadata.
       D.   All content, records, and other information relating to all other interactions
            between the account and other Instagram users July 2019 through July 2022,
            including but not limited to:
            1.     Interactions by other Instagram users with the account or its content,
                   including posts, comments, likes, tags, follows (including unfollows,
                   approved and denied follow requests, and blocks and unblocks), shares,
                   invitations, and mentions;
            2.     All users the account has followed (including the close friends list),
                   unfollowed, blocked, unblocked, muted, restricted, or denied a request to
                   follow, and of users who have followed, unfollowed, blocked, unblocked,
                   muted, restricted, or denied a request to follow the account;
            3.     All contacts and related sync information; and
            4.     All associated logs and metadata.
       E.   All records of searches performed by the account from July 2019 through July
            2022.

                                             2
Case 2:24-mj-01055-DAO          Document 1-1          Filed 10/30/24   PageID.37      Page 36 of 39




 META is hereby ordered to disclose the above information to the government within 14 days of
 issuance of this warrant.

 II.    Information to be seized by the government

        All information described above in Section I that constitutes fruits, evidence and

 instrumentalities of violations, or attempted violations, of 18 U.S.C. § 1343 (Wire Fraud), 18

 U.S.C. §§ 1956 and 1957 (Money Laundering), 18 U.S.C. §§ 371, 1349, and 1956(h)

 (Conspiracy), and/or 15 U.S.C §§ 78j(b), 78ff, and 17 C.F.R. § 240.10b-5 (Securities Fraud),

 those violations involving TARGETS Jeremiah Evans, Makinsee Evans, Dallin Pili, Kole

 Brimhall, and Noelle Evans since July 2019, including, for each username identified on

 Attachment A, information pertaining to the following matters:

            1. All communications between the TARGETS, sellers, investors, potential
               investors, and any others made in furtherance of and/or related to the investment
               scheme and crimes under investigation;
            2. Evidence indicating how and when the account was accessed or used, to
               determine the chronological and geographic context of account access, use, and
               events relating to the crimes under investigation and to the Instagram account
               owner;
            3. Evidence indicating the Instagram account owner’s state of mind as it relates to
               the crimes under investigation;
            4. The identity of the person(s) who created or used the user ID, including records
               that help reveal the whereabouts of such person(s); and

            5. The identity of the person(s) who communicated with the account holder about
               matters relating to the investment scheme and crimes under investigation.
 This warrant authorizes a review of electronically stored information, communications, other

 records and information disclosed pursuant to this warrant in order to locate evidence, fruits, and

 instrumentalities described in this warrant. The review of this electronic data may be conducted

 by any government personnel assisting in the investigation, who may include, in addition to law

 enforcement officers and agents, attorneys for the government, attorney support staff, and

 technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the disclosed

                                                  3
Case 2:24-mj-01055-DAO           Document 1-1         Filed 10/30/24   PageID.38       Page 37 of 39




 electronic data to the custody and control of attorneys for the government and their support staff

 for their independent review.




                                                  4
Case 2:24-mj-01055-DAO           Document 1-1        Filed 10/30/24      PageID.39       Page 38 of 39




                      CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                       RECORDS PURSUANT TO FEDERAL RULES OF
                              EVIDENCE 902(11) AND 902(13)


        I,                                            , attest, under penalties of perjury by the laws

 of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

 this certification is true and correct. I am employed by Instagram, LLC, and my title is

                                       . I am qualified to authenticate the records attached hereto

 because I am familiar with how the records were created, managed, stored, and retrieved. I state

 that the records attached hereto are true duplicates of the original records in the custody of

 Instagram, LLC. The attached records consist of                        [GENERALLY

 DESCRIBE RECORDS (pages/CDs/megabytes)]. I further state that:


        a.       all records attached to this certificate were made at or near the time of the

 occurrence of the matter set forth by, or from information transmitted by, a person with

 knowledge of those matters, they were kept in the ordinary course of the regularly conducted

 business activity of Instagram, LLC, and they were made by Instagram, LLC as a regular

 practice; and


        b.       such records were generated by Instagram, LLC’s electronic process or system

 that produces an accurate result, to wit:


                 1.      the records were copied from electronic device(s), storage medium(s), or

 file(s) in the custody of Instagram, LLC in a manner to ensure that they are true duplicates of the

 original records; and
Case 2:24-mj-01055-DAO           Document 1-1           Filed 10/30/24   PageID.40        Page 39 of 39




                2.      the process or system is regularly verified by Instagram, LLC, and at all

 times pertinent to the records certified here the process and system functioned properly and

 normally.


         I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of

 the Federal Rules of Evidence.




  Date                                  Signature




                                                    2
